     Case Case
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 6   Attorneys for Plaintiff
     The United States of America
 7
                                 UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA,                       Case No. 2:20-cr-00220-KJD-BNW -00059-
                                                    VCF0000-XXX
10                  Plaintiff,                       Motion to Unseal Case

11          v.

12   CIPRIANO SOSA-PEREZ,
        aka SIPRIANO SOSA-PEREZ,
13      aka FELIX PEREZ,
        aka FELIX ALMEIDA-SOSA,
14      aka ARTURO CIPRIANO-SOSA,
        aka ARTURO SOSA-PEREZ,
15
                   Defendant.
16

17
            The United States of America, by and through its attorneys, Nicholas Trutanich,
18
     United States Attorney, and Jared L. Grimmer, Assistant United States Attorney, moves
19
     for entry of the proposed Order unsealing the above-captioned case.
20
            In support of its motion, the Government states:
21
        1. On or about June 12, 2020, a Complaint was filed with the Court, charging Mr.
22
     Sosa-Perez with violation of 8 U.S.C. § 1326(a) and (b), Deported Alien Found in the
23
     United States. See ECF No. 1, 2:20-mj-00487-NJK.
24
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1       2. Mr. Sosa-Perez made an initial appearance before the Court on or about July 14,

2    2020, and was ordered detained pending trial. Id. at ECF Nos. 4, 12. Mr. Sosa-Perez

3    remains detained by the U.S. Marshals Service.

4       3. Mr. Sosa-Perez has signed a plea agreement with the United States, and this Court

5    has set a change of plea hearing for October 27, 2020. This case was not sealed when before

6    the Magistrate Court, but when set before this Court, it was designated as sealed.

7       4. Therefore, the United States moves this Court to unseal the above-captioned case, in

8    that keeping it sealed is not necessary.

9           DATED this 13th day of October, 2020.

10                                              NICHOLAS A. TRUTANICH
                                                United States Attorney
11

12                                                     //s//
                                                ______________________________
13                                              JARED L. GRIMMER
                                                Assistant United States Attorney
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2
                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                      Case No. 2:20-cr-00220-KJD-BNW 00059--
                                                    -
5                    Plaintiff,                     Order Unsealing Case

6           v.                                      (Proposed)

7    CIPRIANO SOSA-PEREZ,
        aka SIPRIANO SOSA-PEREZ,
8       aka FELIX PEREZ,
        aka FELIX ALMEIDA-SOSA,
9       aka ARTURO CIPRIANO-SOSA,
        aka ARTURO SOSA-PEREZ,
10
                            Defendant.
11

12          Upon consideration and review of the Government’s motion:

13          IT IS HEREBY ORDERED that the above-captioned matter, United States of America

14   v. Cipriano Sosa-Perez, is unsealed.

15          DATED this ____ day of October, 2020.

16                                          IT IS SOBy the Court:
                                                     ORDERED
                                            DATED: 2:25 pm, October 16, 2020
17
                                                  ____________________________
18                                                Honorable Kent J. Dawson
                                                  United States District Judge
19                                          BRENDA WEKSLER
                                            UNITED STATES MAGISTRATE JUDGE
20

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                                                3
